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  UNITED STATES DISTRICT COURT                              Yet that is the only justification
 SOUTHERN DISTRICT OF GEORGIA                           Thompson proffers to support his request for
      STATESBORO DIVISION                               copies beyond the plain statement that the
                                                        "documents are necessary for his appeal." Id.
UNITED STATES OF AMERICA,
                                                        Thompson has made no effort to explain why,
V.                        6 :09-c r-68                  for example, a copy of his original PSI is
                                                        necessary to appeal the Court's denial of
JOHN R. THOMPSON,                                       funds to hire an appraiser. See ECF No. 253-
                                                        1. The same can be said of every other
Defendant.                                              document requested. Thompson's motion
                                                        therefore is DENIED.
                      ORDER
     Before the Court is John Thompson's
Motion for Production and Payment for                   This _day of March, 2013-
Transcripts and Other Documents Under
 'CJA." ECF No. 277. Thompson requests:
(I) a transcript of his resentencing hearing,
including all exhibits, the pre-sentence
investigation report ("PSI"), and the amended           B. AVANT EDENFIELD, JJ GE
PSI; (2) copies of all exhibits entered in his          UNITED STATESDISTIT COURT
trial and the jury instructions; (3) copies of all      SOUTHERN DISTRIC1'OF GEORGIA
exhibits from his original sentencing hearing;
and (4) a copy of this case's docket from
January 25, 2011 to present, and copies "of all
papers filed since that date." Id at 1-2.

    Thompson swears he is indigent, which
the Court does not doubt. Id. at 1. But being
penniless cannot alone justify free copies of
what amounts to several trees worth of paper.
See Harless v. United Slates, 329 F.2d 397,
398-99 (5th Cir. 1964) ("The statutory right to
proceed in forma pauperis does not include
the right to obtain copies of court orders,
indictments, and transcript[s] of record,
without payment therefor, for use in proposed
or prospective litigation.").'



 The Eleventh Circuit adopted all pre-October, 1981
Fifth Circuit decisions as binding precedent. Se
Bonner V. C/f3' of Prichard, 661 F.2d 1206, 1209(11th
Cir. 1981)(en banc).
